Case 2:03-CV-02602-SHI\/|-tmp Document 24 Filed 04/21/05 Page 1 of 2 Page|D 36

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W.D. OF TN, N|EMPHIS
BONITA GREEN, individually and in

her representative capacity as
Administratrix of the Estate of
DALE GREEN,

Plaintiff,
v. Cv. No. 03-2602-Ma
UNITED STATES OF AMERICA,

Defendant.

J'UDGMENT

Decision by Court. This action came for consideration before

the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed in
accordance with the Consent Order of Dismissal with Prejudice,

docketed April 18, 2005. Each party shall bear its own costs and
fees.

APPROVED ky

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in

case 2:03-CV-02602 Was distributed by faX, mail, or direct printing on

Apri122, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

